                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

MARIELA SAYRITUPA, Individually,            )
and as NEXT FRIEND OF W.R. AND              )
A.R. MINORS; WILLIAM REYES,                 )
SR., Individually, and as NEXT              )
FRIEND OF M.R. AND D.R.                     )
MINORS, and MARGARITA                       )
MENDOZA,                                    )
                                            )
               Plaintiffs,                  )
                                            )
       v.                                   )       No. 3:20-cv-00759
                                            )
LINDA BALINTFY and 1MTX, LLC,               )
                                            )
               Defendants.                  )

                                            ORDER

       Magistrate Judge Frensley has issued a Report and Recommendation (Doc. No. 31),

recommending that this action be dismissed without prejudice under Fed. R. Civ. P. 41(a) and L.R.

41.01(a) for failure to prosecute. As a consequence, he also recommends that Defendants’ Motion

to Dismiss for Failure to Comply With Court Orders (Doc. No. 29) be denied as moot. No

objections have been filed.

       Having considered the matter de novo in accordance with Rule 73 of the Federal Rules of

Civil Procedure, the Court agrees with the recommended disposition. Accordingly, the Court rules

as follows:

       (1) The Report and Recommendation (Doc. No. 31) is ACCEPTED AND APPROVED;

       (2) Defendants’ Motion to Dismiss for Failure to Comply With Court Orders (Doc. No. 29)

is DENIED AS MOOT;


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  (3) This case is hereby DISMISSED WITHOUT PREJUDICE; and

  (4) The Clerk of the Court shall enter a final judgment and close this case.

  IT IS SO ORDERED.




                                        __________________________________________
                                        WAVERLY D. CRENSHAW, JR.
                                        CHIEF UNITED STATES DISTRICT JUDGE




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